Case 1:19-cv-23084-KMW Document 127-1 Entered on FLSD Docket 05/24/2021 Page 1 of 2




                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA
                                      MIAMI DIVISION


    OMAR SANTOS and AMANDA CLEMENTS on              Case No 1:19-cv-23084-KMW
    behalf of themselves and all others similarly
    situated,

                 Plaintiffs,

          vs.

    HEALTHCARE REVENUE RECOVERY
    GROUP, LLC d/b/a ARS ACCOUNT
    RESOLUTION SERVICES and EXPERIAN
    INFORMATION SOLUTIONS, INC.,

                Defendants.
    __________________________________/


    DECLARATION OF MATTHEW P. WEINSHALL IN SUPPORT OF PLAINTIFFS’ REPLY
                     REGARDING CLASS CERTIFICATION
Case 1:19-cv-23084-KMW Document 127-1 Entered on FLSD Docket 05/24/2021 Page 2 of 2




   I, Matthew P. Weinshall, declare as follows:

          1.      I am an attorney admitted to this Court and licensed to practice in the State of

   Florida. I have personal knowledge of the following facts, and if called as a witness, I could and

   would testify competently to them. I am an attorney with the law firm of Podhurst Orseck, P.A.,

   counsel of record for Plaintiffs Omar Santos and Amanda Clements (“Plaintiffs”). I make this

   declaration in support of Plaintiffs’ Reply in Support of Plaintiffs’ Motion for Class Certification.

          2.      Attached hereto as Exhibit 1 is a true and correct copy of excerpts from the

   deposition of Patrick Brennan, dated May 21, 2020.

          3.      Attached hereto as Exhibit 2 is a true and correct copy of the Expert Witness

   Rebuttal Report of Evan Hendricks, dated March 5, 2021.

          I declare under penalty of perjury that the foregoing is true and correct to the best of my

   knowledge, information, and belief. Executed this 24th day of May, 2021.



                                                  /s/Matthew P. Weinshall
                                             Matthew P. Weinshall




                                                    1
